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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                   Plaintiff,

              v.                                         Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                   Defendants.


                         Joint Motion for Entry of Stipulated ESI Protocol

       Plaintiff Federal Trade Commission (“FTC”) and Defendant U.S. Anesthesia Partners,

Inc. have agreed to a mutually acceptable protocol governing the production of electronically

stored information. The parties respectfully request that the Court enter the attached proposed

order (Exhibit A) as stipulated.



Date: September 13, 2024                             Respectfully submitted,

 /s/ Timothy Kamal-Grayson                          /s/ Kenneth M. Fetterman
 Timothy Kamal-Grayson (Pro Hac Vice)               Kenneth M. Fetterman (Pro Hac Vice)
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 Commission
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                                                    Partners, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the foregoing Joint Motion for Entry of

Stipulated ESI Protocol and attached proposed order to be served on all counsel of record using

the ECF system of the United States District Court for the Southern District of Texas.


Dated: September 13, 2024
                                                 /s/ Timothy Kamal-Grayson




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